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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :   CRIMINAL NO. 1:22-cr-00044-APM
                                                  :
              v.                                  :
                                                  :
 CODY VOLLAN                                      :   VIOLATIONS:
 ANTHONY CAROLLO                                  :   18 U.S.C. § 1752(a)(1)
 JEREMIAH CAROLLO,                                :   (Entering and Remaining in a Restricted
                                                  :   Building or Grounds)
                    Defendants.                   :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)
                                                  :

                               SUPERSEDING INFORMATION

       The United States Attorney charges that:


                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, CODY VOLLAN, ANTHONY

CAROLLO, and JEREMIAH CAROLLO did knowingly enter and remain in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President was and would be temporarily

visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, CODY VOLLAN, ANTHONY

CAROLLO, and JEREMIAH CAROLLO did knowingly, and with intent to impede and disrupt

the orderly conduct of Government business and official functions, engage in disorderly and

disruptive conduct in and within such proximity to, a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was and would be temporarily visiting, when and so that such

conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, CODY VOLLAN, ANTHONY

CAROLLO, and JEREMIAH CAROLLO willfully and knowingly engaged in disorderly and

disruptive conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, CODY VOLLAN, ANTHONY

CAROLLO, and JEREMIAH CAROLLO willfully and knowingly paraded, demonstrated, and

picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052


                                     By:       /s/ Joseph DeGaetano
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